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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                       DECISION AND ORDER
              V.
                                                       l:15-CR-00142 EAW
JACK WOOD a/k/a Jake a/k/a Snake,

                    Defendant.


      Defendant Jack Wood ("Defendant") is charged in seven counts of a 46-count

Second Superseding Indictment that alleges various crimes, including a RIC0 1

conspiracy in violation of 18 U.S.C. § 1962(d), firearm offenses in violation of 18 U.S.C.

§ 924(c), various narcotics offenses, crimes in violation of the Hobbs Act, 18 U.S.C.

§ 1951 (a), and various VICAR2 counts, pertaining to the operation of the Kingsmen

Motorcycle Club. (Dkt. 33). Defendant is one of 16 defendants 3 named in the Second

Superseding Indictment. (Id.).

      This Court initially referred all pretrial matters in the case to United States

Magistrate Judge Hugh B. Scott pursuant to 28 U.S.C. §§ 636(b)(I)(A)-(B) (7/29/2015




       "RICO" refers to the Racketeer Influenced and Corrupt Organizations Act,
codified at 18 U.S.C. §§ 1961-1968.
2
       "VICAR" refers to the Violent Crimes in Aid of Racketeering Activity statute,
codified at 18 U.S.C. § 1959.
3
       Although 16 defendants were named in the Second Superseding Indictment, four
of the defendants have subsequently entered pleas of guilty.

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Dkt. Entry), and then upon return of the Second Superseding Indictment, the case was

referred to Magistrate Judge Michael J. Roemer (Dkt. 35).

       On June 13, 2017, Magistrate Judge Roemer issued a thorough Report and

Recommendation recommending that this Court deny Defendant's pretrial motion (Dkt.

553) to suppress evidence seized pursuant to a search warrant executed at his home on

August 26, 2015. (See Dkt. 628). Pursuant to Fed. R. Crim. P. 59(b)(2) and 28 U.S.C.

§ 636(b)(l)(C), the parties had 14 days after being served a copy of the Report and

Recommendation to file objections. No objections were filed.

       The Court is not required to review de novo those portions of a report and

recommendation to which objections were not filed. Fed. R. Crim. P. 59(b)(2) ("Failure

to object in accordance with this rule waives a party's right to review."); see Molefe v.

KLM Royal Dutch Airlines, 602 F. Supp. 2d 485, 487 (S.D.N.Y. 2009) (to trigger the de

novo review standard, objections to a report "must be specific and clearly aimed at

particular findings in the magistrate judge's proposal").

       Notwithstanding the lack of objections, the Court has conducted a careful review

of the Report and Recommendation as well as the filings previously made in the case, and

finds no reason to reject or modify the Report and Recommendation of Magistrate Judge

Roemer.    Therefore, the Court accepts and adopts the Report and Recommendation.

(Dkt. 628). For the reasons set forth in the Report and Recommendation, this Court

denies Defendant's pretrial motion (Dkt. 553) to suppress evidence seized pursuant to a

search warrant executed at his home on August 26, 2015. (See Dkt. 628).



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         SO ORDERED.




Dated:       July 10, 2017
             Buffalo, New York




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